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IN THE UNITED STATES DISTRICT COURT "?§§
FOR THE EASTERN DISTRICT OF WISCONSIN

ALBERT PATTERSON d/b/a

WORLD WRESTLING ASSOCIATION,

SUPERSTARS OF WRESTLING, INC.
Plaintiff

'U? <§“'25 ZWZ;BA
NQ. oo-c- 0951

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v. Judge Tnomas-Cufran

DALE R. GAGNER d/b/a
Superstars of wrestling,

individually, and AWA sUPER
STARS OF WRESTLING, INC.

JURY TRIAL DEMANDED

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Defendants ,
sETTLEMENT AGREEMENT
wHEREFORE the parties to this litigation agree to settle
their differences in this litigation, Plaintiff and Defendant
Dale 3. Gagner ("Gagner“) on his personal behalf, and on behalf
of an§ of his affiliates including but not limited to the
defendant AWA SUPERSTARS OF WRESTLING, I’C. as its President,

hereby agree=
Plaintiff shall dismiss the above captioned action against

all of the Defendants with prejudice. `

As a part of the settlement agreement, the defendant agrees
to an injunction to be issued by the court to permanently enjoin
the defendants Dale R. Gagner and AWA Superstara of wrestling,
Inc. and any business in which Dale Gagner owns a 50& of more
interest, from directly or indirectly from using plaintiff's
marks SUPERSTAR WRESTLING, SUPERSTARS WRESTLING, SUPERSTARS OF
WRESTLING, SUPERSTARS OF PRO WRESTLING, WWA SUPERSTAR WRESTLING,
WWA SUPERSTARS WRESTLING, WWA SUPERSTARS OF WRESTLING, and WWA

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SUPERSTARS OF PRO WRESTLING SUFER.STAR WRESTLING or any Other mark
word or name similar to plaintiff's marks (hereinafter referred
to as the "Marks") which are likely to cause confusion anywhere
in the United States of America, unless Dale Gagner shall have a
written license agreement to use said marks from Plaintiff, his
heirs or assigns.

Further that Dale R. Gagner be enjoined from directly or
indirectly receiving any remuneration whatsoever from any event
that uses plainti£f's service Marks as above identified; unless
said event shall have a written license agreement to use said
Marks from Plaintiff, his heirs or assigns.

This agreement shall be contingent upon the Court's
agreement to issue the above stated injunction.

That the defendant and his affiliates agree not to use any
of the Marks unless permission or license in writing to use said
Marks shall be obtained from Mr. Albert Patterson, his heirs or
assigns. h

v That to the extent Dale R. Gagner or any of his affiliates

used any of the Marks prior to this date, all ownership rights;
titles and interests to such Marks acquired by any of the
defendants or their affiliates by reason of such usage of such
Marks are hereby irrevocably and unconditionally conveyed and
assigned to the plaintiff, Albert Patterson, his heirs and
assigns. x

Defendant Dale R. Gagner warrants that neither he nor AWA

Superstars of wrostling, Inc. has conveyed any interest in any of

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the Marks to any other person at any time. Defendent Dale R.
Gagner and any of his affiliates hereby agree not to use or be
associated with any wrestling event, or any purported wrestling
event, or any publication through a public medium depicting a
wrestling event or wrestlers using the Marks including but not
limited to television, cable, radio, booke, magazines, meil,
merchandise, the internet, or the telephone using any Marks.

The parties agree that defendant Gagner or his affiliates
shall only use the Marks if a license shall be first obtained in
writing with Mr. Albert Patterson, his heirs or assigns.

l LIQUIDATED DAMAGES:

In the event that the defendant Dale R. Gagner, or any of
his affiliates, shell use any of the Marks after the date of this
agreement without the written permission of Mr. Patterson, his
heirs or assigns, or if defendant Dele R. Gegner shall be
involved as a booking agent, promoter or otherwise provide
services in connection with a wrestling promotion, publication or
event using such Marks, and shall not first obtain a license from
the plaintitf, his heirs or assigns, Defendant Dale R. Gagner
agrees to pay as liquidated damages the greater of (i) and (ii)
where (i) shall be $1,000 per event, show or publication end (ii)
shall be an amount equal to 7% (seven percent) of the gross
revenue which shall be the gross amount received as a result all
revenues received from the event, show or publication including
but not limited to ticket sales, the gross amount of all

concessions sold at the event, the gross amount of all proceeds

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received from any advertisers in connection with the event and
all other revenues received in connection with the event. In the
event of the sale of merchandiee, the liquidated damages shall be
the greater of (i) cr (ii) where (i) shall be $5,000 for each
type of merchandise sold per month; anc’. (ii) shall be 7% (seven
percent) of the gross revenue received as a result of the sale Qf
such merchandiee. Gagner agrees to pay interest on any
liquidated damages at the rate of 12% per annum compounded
annually from the date the revenue was received until the date
the liquidated damages are paid.

Dale R. Gagner agrees that he shall be personally liable
for the liquidated damages and attorney fees even if he does not
personally receive the revenue from the event, show, publication
or merchandise.

In the event litigation shall be necessary to recover such
liquidated damages, Dale R. Gagner agrees to pay the reasonable
attorney fees incurred by Mr. Albert Qatteraon, his heirs or
assigns to enforce this agreement.

Mr. Gagner agrees that any litigation in connection with
this agreement shall solely be brought in any state or federal
court in Cook County, rllinois, and Gagner consents to
jurisdiction and venue in Cook County, Illinois for purposes of
enforcing this agreement, with the exception that enforcement

and/or collection or any judgment hereunder may be brought in any
appropriate jurisdiction.

Mutual releases:

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In consideration for execution of this agreement Plaintiff
Albert Pattereon releases Dale Gagner, and AWA SUPERSTARS OF
WRESTLING, INC. of all claims which he may have to the date of
this agreement, whether known or unknown. Moreover, Dale R.
Ga.gner, and AWA SUPERSTARS OF wRESTLING, INC. hereby release
Albert Pat!;erson, his heirs and assigns of all claims any of them

may have, whether known or unknown to the date of this agreement.

 

        
 

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thrcfore plaindH`Albort Po.n=ncu ha filed o R’~:le ;o Show Ci‘~;se s;a;n=~. D~a.'.; C-sg:e.~.
and whereas the parties have Wcl to resolve the <:lislputel PlainiiB`.-‘¢.l`oa‘z Pam and
d=£mdant Dale k Gagncr hereby agree as follows;_

I. Tho prior injunctions and court orders iswed by the Co\m by and between the parties
shall remain in full force and effect

Il. Dalc Gagne.r shall pay Albm woman an;l¢'or Patw:xson’s attorney C’hazles Dralce
Boucwell the mm of Sl,§OO on or be£on Mm~eh 31, 2001 Pazterson ackmwl¢dges that Gagnor

has already palo $500 cf this mt sued that $1,000 mains m be paid.

111 Wbexus human and Gagzm previously entered into an agreement entitled
“Oporations me l.ioom¢A@ecmom” on Jlmo 29, 2001, ( a copy ofwhioh is attached name
and incorporated heroin by mfamnoe) and whereas said agreement terminated cn lane 29, 2002.
md whom th¢pmies dairs to reinstate said agreement effecth Febnm'y 21, 2007 with the
following amendment

1. Thn following language shall be added at the end ofpmgaph l. “Gegner agrees to submit
all uses of Pattmon’e marks under this keene age-amen le Pammaon for quemon's zpproval.”

2. The royalry percentage stated in paragraph 2 of said agreement shall be three percent (3%)
watson or seven percent ( 7%) wherever seven percent (7%) shall meat therein

3. ‘Ihe following language shall he added at the end of paragth 3. ’I’hc jurisdich for the
mart shall be the Uni!ed States of Amorica, .Pum'to Ri¢o, Canada. Mcxico, thc Vir;in
Zslmd, and lonnie Gm¢r am to use ?zuorm’s marks a mm of events per
ivw; provided that inhng shall no longeo be involved with professional wrestling wm
whatsoevu‘, this m`minmm requi mount shall be waived for the period of noninvolvemem

4.'1`1)¢ period of the reinstated license argument swzed m paragraph 5 shall ha five ycars
instead of one year and shall run begmmng wm the clara ofr=insmmr, Fc’€>mm‘z' il 209 ’

5. Thc following language adm be adeledw pmth lS. Dale Gagnar consoan personal
jurisdiction in took Conm;¢. illinois for purposes ofmforcemcnt of this ¢M¢m»

IV. IfG¢gzor¢ompliuwlmebe terms oftheliccnae mem described inpmm
hmof`. then all claims by Pme:son against Dsie Gagner prior to February 21, 2007’ shall be
settled md resolved without maher payment by Gagner to human

WFERBFORE THE P ARTIES HAVB EXECU'TED THlS SET‘I`I..EMENT
AGREEMENT AS POLLOWS. » - >'

  

Blumberg No, 5118

  

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NOTARY PUBLIC

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Cnny mailed 'n summers 'n¢

v. CASE NUMBER: OO~C»951
E R. GAGNER d/b/a

arstars of Wrestling, individually
AWA SUPER STARS OF
STLlNG, INC.

 

l ]J ry Verdlct This action came before the Court for a trial by jury. The 1ssues have been tried ana
e jury has rendered its verdict.

l Xl ecislon by Coun. This action brought by Piaintiff A.'ben Patterson d/'b/a World
- -Wr»e ling Assoclation, Superstars of Wrestl§ng, lnc. against Defendants Da$e R
Gog 1 d. 'b/a Superstars of Wrestling and AWA Super Stars of Wrest|ing. |no. came
befc me court, the Honorable Thomas J. Curran District Judge, presiding and the

" : s ha\' mg agreed to settle all claims

lT |S ORDERED AND ADJUDGED THAT:

each of the Defendants Dale R. Gagner d/b/a Superstars of
Wrest|ing, individually, and AWA Superstars of Wrestling,
|nc. and its affil.'ates, successors and ass1gns and any
buseness m which Da|e Gagner owns a 50% or more
interest are enjoi1.ed‘rom using an l of the marks WORLD
WRESTL!NG ASSOC|AT|ON, SUPEHSTAH WRESTL|NG.
SUPERSTARS WRESTL!NG, SUPERSTARS OF WRESTL|NG,
SUPERSTARS OF PRO WRESTL|NG, WWA SUPERSTAR
WRESTLFNG, WWA SUPERSTARS WRESTL!NG, WWA
SUPERSTARS OF WRESTLING, WWA SUPERSTARS OF
PRO WRESTL|NG or any other mark, word or name similar
to Plaintiff’s marks which are likely to cause confusion
anywhere in the United States of America.

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Furthe.' that Dale Gagner is enjoined from directly or
indirectly receiving any remuneration whatsoever from any
event that uses Piaintiff's service Marks as above identified;
unless said event shall have a written license agreement to

use said Marks from the P!aintiff, his heirs or assigns.

lT |S FURTHER ORDERED AND ADJUDG_ED

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that this action is dismissed with prejudice.

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